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       1                        UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
       2                               MIAMI DIVISION

       3                      CASE NUMBER 16-20893-CR-MORENO

       4   UNITED STATES OF AMERICA,

       5                  Plaintiff,                         Courtroom 13-3

       6      vs.                                            Miami, Florida

       7   MONTY RAY GROW,                                   February 5, 2018

       8                Defendant.
           _______________________________________________ ___________________
       9
                                JURY TRIAL PROCEEDINGS
      10               BEFORE THE HONORABLE FEDERICO A. MORENO
                             UNITED STATES DISTRICT JUDGE
      11   __________________________________________________________________

      12   APPEARANCES:

      13   FOR THE GOVERNMENT:          KEVIN J. LARSEN, AUSA
                                        JON M. JUENGER, AUSA
      14                                DAREN GROVE, AUSA
                                        United States Attorney's Office
      15                                Economic Crimes Section
                                        United States Attorney's Office
      16                                99 Northeast Fourth Street
                                        Miami, Florida 33132
      17                                                          305-961-9356
                                                             Fax: 305-530-6168
      18                                               kevin.larsen@usdoj.gov
                                                        jon.juenger@usdoj.gov
      19                                                daren.grove@usdoj.gov

      20   FOR THE DEFENDANT:           DANIEL L. RASHBAUM, ESQ.
                                        JEFFREY E. MARCUS, ESQ.
      21                                Marcus Neiman & Rashbaum, LLP
                                        2 South Biscayne Boulevard
      22                                Suite 1750
                                        Miami, Florida 33131
      23                                                          305-400-4261
                                                             Fax: 866-780-8355
      24                                             drashbaum@mnrlawfirm.com
                                                       jmarcus@mnrlawfirm.com
      25
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       1                                KATHRYN A. MEYERS, ESQ.
                                        Law Office of Kathryn A. Meyers PLLC
       2                                2 South Biscayne Boulevard
                                        Suite 1750
       3                                Miami, Florida 33131
                                                                 305-400-4266
       4                                                  kate@kmeyerslaw.com

       5   REPORTED BY:                 GILDA PASTOR-HERNANDEZ, RPR, FPR
                                        Official United States Court Reporter
       6                                Wilkie D. Ferguson Jr. US Courthouse
                                        400 North Miami Avenue - Suite 13-3
       7                                Miami, Florida 33128     305.523.5118
                                        gphofficialreporter@gmail.com
       8

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       1       (The following proceedings were held at 11:55 a.m.:)

       2             THE COURT:    United States versus Grow Case.        Defendant

       3   is present, defense counsel, Government counsel.           Thank you for

       4   being here.

       5             We have nothing -- please be seated.          We have nothing

       6   from the jury.    So just to confirm, they're here until 1:00

       7   because of a doctor's appointment.            So I'm going to bring them

       8   out -- and also the test by another juror.           So I'm going to

       9   bring them out to remind them no lunch and 1:00 is when they

      10   leave -- they all got here on time this morning -- and confirm

      11   that they can come in tomorrow at 9:00 or 8:30, let's see, in

      12   case any of them have any problems.           We'll do it day by day.

      13             I don't want to ask them about more than one day and my

      14   jury trial settled this morning, so I don't have the problem

      15   with the jury room, but even if I did, we'd worked it out.             But

      16   that's what I'm going to do.

      17             Any problems with that from the Government?

      18             MR. LARSEN:    No, sir.

      19             THE COURT:    From the defense?

      20             MR. RASHBAUM:    No, Your Honor.

      21             THE COURT:    Okay.   Shirley, tell them to bring out the

      22   jurors.

      23             THE COURTROOM DEPUTY:      We have one hour.

      24             THE COURT:    You can do it here.        They need to stretch

      25   their legs.   It's almost 12:00.
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       1       (The jury entered the courtroom at 11:57 a.m.)

       2             THE COURT:    Good morning, everybody.        Just wanted to

       3   see you before I said good afternoon.           That's all.   I think we

       4   have everybody, right?     Yeah.     Okay.      Have a seat and relax.

       5             All right.    We have the defendant present, defense

       6   counsel, Government counsel.

       7             I know you all are going through everything as

       8   meticulously as you have for the last three days, but I wanted

       9   to remind you, you probably don't need any reminding, you're

      10   going to work till 1:00, so I'm not going to order any lunch.

      11   That way, at 1:00 you can be on your own.           You kind of like that

      12   anyway, at least from Friday.

      13             Then, again, no minimum time, obviously, and no maximum

      14   time either.    You take as long as you want to reach whatever

      15   decisions you think the law and the facts dictate that you

      16   should.   So at 1:00, if you haven't reached a decision on

      17   anything yet, then we'll just send you home with the same

      18   instructions not to read anything, watch anything, talk about

      19   anything, and come back tomorrow, Tuesday.

      20             I just wanted to confirm, are there any issues

      21   tomorrow?    Remember I said two and a half weeks?         It's kind of

      22   becoming two and a half weeks, but there's no limitation on the

      23   half a week because you're in control now, all right, not me.

      24               Okay.   So any problems with coming in -- after 1:00

      25   today -- tomorrow morning?     We don't have any issues, anybody in
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       1   the first row?    Second row?

       2              So tomorrow we will work from, the typical thing, 9:00

       3   to 5:00, and we will do that from time to time throughout the

       4   week.   All right?

       5              You have the coffee, soda, the Verdict Form, the jury

       6   instructions.    We don't bother you.           You can put your papers

       7   there, so no one will touch it, but someone has to come in --

       8   well, there won't be that much to clean up, but there's a little

       9   bit of cleaning up to do.        So leave that, but we will take --

      10   Shirley will take the Verdict Form.             You each have your own jury

      11   instructions, but she will take that envelope with those things,

      12   which will be your cue tomorrow morning, if you need to come in

      13   tomorrow morning, and that's the routine that we will have from

      14   day-to-day.

      15              Any issues on Wednesday?         No issues?    You know, I

      16   almost wasn't going to ask, but I'm kind one of these planners.

      17   I always want to know a little bit ahead of time.             Yes.

      18              MS. PADRON:    Wednesday at 11:30 I have an appointment

      19   at my daughter's school for --

      20              THE COURT:    But she's the one who takes the test.

      21              MS. PADRON:   But I have to be there to sign the paper.

      22              THE COURT:    Okay.   Do you think you can sign the papers

      23   this afternoon?

      24              MS. PADRON:    I can ask when I pick her up if it's okay,

      25   but I --
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       1              THE COURT:     You've got a little extra time this

       2   afternoon if it's just that.        I mean that's an important thing,

       3   but you don't have to -- how old is she?

       4              MS. PADRON:     Five.

       5              THE COURT:     Okay.    So someone has got to take her

       6   obviously.

       7              MS. PADRON:     Well, yeah, I would have to take her.          No,

       8   it would be at her school, so I would take her in the morning,

       9   normal.

      10              THE COURT:     Oh, in the morning, you sign, but you said

      11   at 11:00.

      12              MS. PADRON:     No, her testing is at 11:30, is when I

      13   have the appointment with the gifted counselor.

      14              THE COURT:     Can you sign the papers before?

      15              MS. PADRON:    I will find out today.

      16              THE COURT:     Yeah, and then pick her up at the end of

      17   the day.     All right?    I mean, I'm not suggesting you'll be here

      18   Wednesday.    You all decide how long you're here for.

      19              MS. PADRON:     Understood.

      20              THE COURT:     All right.     Okay.    Thank you.   Nobody else?

      21   All right.    See you whenever you want to be seen.

      22              THE COURT SECURITY OFFICER:           All rise for the jury.

      23      (The jury retired from the courtroom at 12:01 p.m. after

      24   which the following proceedings were held:)

      25              THE COURT:     Okay.    Have a seat.      You all have to wait
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       1   five minutes, maybe a little bit more, so the jurors will leave.

       2             I had denied the Motion for Judgment as a Matter of Law

       3   and I think the defendant also renewed it at the end, I'm pretty

       4   sure, and I denied it and said I would wait till the jury would

       5   decide.   One of the main cases cited by the defense was Medina,

       6   United States versus Medina, 485 F.3d 1291, from 2007, and there

       7   are a couple of other cases by Judge Hull from the Eleventh

       8   Circuit that I think you all should look at in the event that

       9   it's necessary to file anything afterwards.

      10             One of them is United States versus Vernon, Chris

      11   Vernon, and there was also a Jeff Vernon, and Butch Brill.         It's

      12   a more recent case because it's from 2013, 723 F.3d 1234, and of

      13   course, no case is identical to another case.         There the Court

      14   of Appeals found sufficient evidence supported the jury's

      15   finding that the defendant, as the chief financial officer for a

      16   specialty pharmacy, acted willfully in approving pharmacy's

      17   payments to health care provider and its owner, thus supporting

      18   the defendant's conviction under the Anti-Kickback Statute.

      19             Evidence showed that at the time that he approved those

      20   payments, the defendant knew that the commission-based nature of

      21   the pharmacy's payments to provider and its owners, that owner

      22   was not employed by pharmacy, and that the Anti-Kickback Statute

      23   criminalized such commission-based arrangements between health

      24   care providers and third parties.         It's a long opinion because I

      25   think it was a long trial.     There were two cases.      It was a very
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       1   long opinion.

       2              But I submit that both -- you all probably know the

       3   case, but in case you didn't, you may want to read it.

       4              It also talks about there being sufficient evidence

       5   supported the jury's finding that individual was not a bona fide

       6   employee of specialty pharmacy for which defendant was an

       7   executive, precluding the defendant's affirmative defense under

       8   the Anti-Kickback Statute's safe harbor provisions and

       9   prosecution for violations of the Anti-Kickback Statute.

      10              The Court had instructed the jury as to bona fide

      11   employee, and in that case, even listed the relevant factors

      12   about it and then talked about conspiracy.

      13              What the Eleventh Circuit did, Judge Hull, Pryor, and

      14   District Judge Schlesinger, was they reversed the granting of

      15   the Rule 29 acquittal after the jury's decision, and they

      16   vacated the granting of a new trial in that particular case.

      17              There are, of course, distinctions and we don't even

      18   have a verdict so -- but it's also helpful in case there are new

      19   motions.   There, there was good faith reliance on counsel's

      20   advice, which was not the case here, though we had some lawyers

      21   testifying, but they also -- which is the law under United

      22   States versus Miranda, a different Miranda case, from the

      23   Eleventh Circuit, 425 F.3d 953, where the District Court's

      24   determination that the evidence introduced at trial was

      25   insufficient to support the jury's verdict of guilt is an issue
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        1   of law entitled to no deference on appeal.

        2            You know, I'm thinking ahead.       I don't know what's

        3   going to happen.   I hate saying I don't care what's going to

        4   happen because I always care a little bit, but as sometimes

        5   people say, I don't have a dog in the fight because I'm not for

        6   either side.

        7            There's another case that you probably are even more

        8   familiar with because it's a more recent case and that's United

        9   States of America versus Clay.      It's also an opinion by Judge

       10   Hull and it deals with the fraud itself.      So it's interesting to

       11   see that it has to do in a way with the first nine counts of the

       12   conviction, and when the Court of Appeals goes through the

       13   procedural history, there are some things that are not the same,

       14   but it says:

       15            After a trial lasting almost three months, the jury

       16   returned a mixed verdict.    It was unable to reach a verdict as

       17   to any defendant on Count 1, the conspiracy charge.       The jury

       18   acquitted the defendants of Counts 2 and 3 involving some

       19   expense reports.   As to Counts 4 and 5, involving some other

       20   year's expense reports, the jury convicted one defendant,

       21   Behrens, acquitted another one, and was unable to reach a

       22   verdict as to other defendants, Clay and Kale, and there were

       23   some other acquittals.    I mean, it was, as we've accepted for a

       24   long time, mixed verdicts at some point, and it also reiterates

       25   what you all know about the law because it quotes both Vernon
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        1   and Medina.

        2             This is what it says:     "We agree that in a health care

        3       fraud case such as this, the defendant must be shown to have

        4       known that the claims submitted were, in fact, false.

        5       Although the Government --" and then they cite those cases.

        6       "Although the Government must prove the defendant's

        7       knowledge of falsity, a defendant's knowledge can be proven

        8       in more than one way.    Here the District Court properly

        9       instructed the jury that a statement or representation is

       10       false or fraudulent if it is about a material fact that the

       11       speaker knows is untrue or makes with deliberate

       12       indifference as to the truth and makes it with intent to

       13       defraud.   Representations made with deliberate indifference

       14       to the truth and with intent to defraud adequately satisfy

       15       the knowledge requirement."

       16             There's just a wealth of things that could be helpful.

       17   It talks also about a willful blindness instruction, which I did

       18   not give in this case even though the Government requested it.

       19   It talks about the basic requirements of that, the difference

       20   between reckless indifference.      In those cases there were cash

       21   bonuses, and you're probably familiar with the cases, but I

       22   wasn't.   And as I read them and thinking about the possibility

       23   of a renewed Motion for Judgment of Acquittal, I thought you all

       24   should know -- you know more than I do, but you should know at

       25   least as much as I do, so we're kind of on the same page or on
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        1   the same pages, with distinctions and all of that, for two

        2   reasons; number one, in the event that the jury does not reach a

        3   verdict on any count in this case, we will proceed to trial as

        4   indicated -- I think I said -- what did I say, March 19th?

        5   March 5th.

        6            THE COURTROOM DEPUTY:      March 5th or March 12th.

        7            THE COURT:    No.   What did I say?   Did you write it

        8   down, Shirley?

        9            March 12th.    March 5th would be -- March 5th, but it's

       10   that two-week period, and if it's a mixed verdict, we're going

       11   to go to trial on whatever they didn't find.

       12            Of course, if they are acquitted we won't go to trial.

       13   If they are acquitted of some, we won't go to trial, but you all

       14   were going to block off I think -- Mr. Larsen, you were going to

       15   go to Phoenix.   I thought of you when I was watching the golf

       16   tournament today -- I mean, not today, yesterday, before the

       17   Super Bowl.   It's a beautiful place.

       18            Did you ever go to the Museum of Musical Instruments?

       19            MR. LARSEN:    No, I've not been to that one.

       20            THE COURT:    I know it sounds boring, but it's actually

       21   one of the best museums I've ever been to.

       22            MR. LARSEN:    Is it downtown or Scottsdale?

       23            THE COURT:    It's a little outside, it's in Phoenix, but

       24   I tell everyone who has ever been there.       I didn't think so.   My

       25   wife always drags me to museums and I go reluctantly because I
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        1   need to find culture and I thought that would be in the bottom

        2   and it was actually on the top and I encouraged my son when he

        3   went there on a golf outing and he loved it.       He just became 33

        4   with a bunch of golfing buddies, so that shows you that it's

        5   kind of a different type of museum.

        6             But be that as it may, you all talked about your

        7   vacations, going to LEGOLAND for two weeks during spring break

        8   and things of that nature and I think I've accommodated your

        9   schedules and I've accommodated the jurors' schedules.        I don't

       10   know what's going to happen, but I suspect we will either get a

       11   hung jury or a mixed verdict, but I've been wrong in this case

       12   on timing obviously.    I don't remember if it's the longest

       13   deliberations that I've had.     I don't keep track of that, but I

       14   can't remember one, but they're going to take as long as they

       15   think is necessary.    They haven't asked for anything.      They did

       16   he ask for more notes, more papers, so we dropped off five more,

       17   but we didn't get any, so we'll see what happens, and you know

       18   what the schedule is.

       19             I'm not going to make you -- well, you know what will

       20   happen?   They'll have something at five to 1:00.      So, you know,

       21   it's 12:10 already, so why don't you just hang around.        I hate

       22   doing that to you all because it's almost like a waste of time,

       23   but just in case something happens that I need to do something

       24   by 1:00, so get here about five minutes to 1:00.       If nothing has

       25   happened, I'll just send you home first and then send them home
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        1   without any other instructions because they have heard it

        2   already.    I don't think I need to repeat it unless you all think

        3   I do.

        4              Does anybody think I need to repeat my instructions at

        5   1:00?   Government?

        6              MR. LARSEN:   No.

        7              THE COURT:    Defense?

        8              MR. RASHBAUM:    No.

        9              THE COURT:    All right.      So that's what we will do, and

       10   then we'll keep on doing it every day until we're done.              Okay?

       11   Thank you.

       12              THE COURT SECURITY OFFICER:           All rise.

       13      (There was a brief recess at 12:14 p.m. after which the

       14   following proceedings were held at 12:48 p.m.)

       15              THE COURT:    Defendant is present, defense counsel,

       16   Government counsel.

       17              We've got a note from the jury that says, "We have a

       18       verdict.    Kelly Padron."

       19              Bring in the jurors, please.

       20              THE COURT SECURITY OFFICER:           All rise.

       21              THE COURT:    Here, Shirley, this is for you.

       22       (The jury entered the courtroom at 12:48 p.m.)

       23              THE COURT:    We've got all the jurors.           The defendant is

       24   present, defense counsel, Government counsel.            Please be seated.

       25              I understand you have all reached a verdict.            Am I
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        1   right, Ms. Padron?

        2              MS. PADRON:    Yes, sir.

        3              THE COURT:    Could you give it to the court security

        4   officer?    He's going to give it to my courtroom deputy.        She's

        5   going to give it to me.      After I look at it, I'm going to give

        6   it back to her and then she's going to read it out loud.

        7              When she reads it out loud, what will happen is after

        8   that, listen carefully, I'm going to ask her to poll the jury.

        9   That means she's going to ask every single one of you by name

       10   whether the verdict as read by her is indeed your verdict.          If

       11   it is, you say yes.      If for some reason one of you says no, then

       12   you go back and continue your deliberations.        All right?

       13              So be patient with me for a little bit.      Okay?

       14              On Count 23, there was one check and then one circled

       15   with the initials K.P., right?

       16              MS. PADRON:    Yes.

       17              THE COURT:    All right.

       18              Madam Clerk, please publish the verdicts.

       19              THE COURTROOM DEPUTY:      United States District Court,

       20   Southern District of Florida, Case Number 16-CR-20893-FAM,

       21   United States of America versus Monty Ray Grow, Defendant.

       22              Verdict Form:

       23              We, the jury, unanimously find the defendant, Monty Ray

       24   Grow, as to Count 1 of the Indictment, conspiracy to defraud the

       25   United States, guilty.
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        1            As to Count 2 of the Indictment, health care fraud for

        2   beneficiary P.S., claim 12-29-14, not guilty.

        3            As to Count 3 of the Indictment, health care fraud for

        4   beneficiary R.R., claim 1-28-15, not guilty.

        5            As to Count 4 of the Indictment, health care fraud for

        6   beneficiary J.B., claim 1-31-15, not guilty.

        7            As to Count 5 of the Indictment, health care fraud for

        8   beneficiary B.V., claim 2-20-15, guilty.

        9            As to Count 6 of the Indictment, health care fraud for

       10   beneficiary A.D., claim 2-23-15, not guilty.

       11            As to Count 7 of the Indictment, health care fraud for

       12   beneficiary J.F., claim 3-12-15, not guilty.

       13            As to Count 8 of the Indictment, health care fraud for

       14   beneficiary M.E., claim 5-7-15, not guilty.

       15            As to Count 9 of the Indictment, conspiracy to pay and

       16   receive health care kickbacks, guilty.

       17            If guilty, which object of the conspiracy do you

       18   unanimously agree that the Government has proven?

       19            A.   Solicit and receive kickbacks in exchange for

       20   referring individuals to a person to arrange for furnishing

       21   prescription medication.    Yes.

       22            B.   Offer and pay kickbacks to induce a person to

       23   arrange or recommend the purchase of prescription medication.

       24   No.

       25            C.   Offer and pay kickbacks to induce a person to refer
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        1   an individual to a person for the furnishing of any item and

        2   service paid by a Federal health care program.       Yes.

        3            As to Count 10 of the Indictment, receipt of kickbacks

        4   in connection with a Federal health care program on 11-7-14 for

        5   $85,946, guilty.

        6            As to Count 11 of the Indictment, receipt of kickbacks

        7   in connection with a Federal health care program on 11-21-14 for

        8   $74,663, guilty.

        9            As to Count 12 of the Indictment, receipt of kickbacks

       10   in connection with a Federal health care program on 12-9-14 for

       11   $210,763, guilty.

       12            As to Count 13 of the Indictment, receipt of kickbacks

       13   in connection with a Federal health care program on 12-18-14 for

       14   $288,290, guilty.

       15            As to Count 14 of the Indictment, receipt of kickbacks

       16   in connection with a Federal health care program on 1-2-15 for

       17   $732,974, guilty.

       18            As to Count 17 of the Indictment, receipt of kickbacks

       19   in connection with a Federal health care program on 1-20-15 for

       20   $436,490, guilty.

       21            As to Count 18 of the Indictment, receipt of kickbacks

       22   in connection with a Federal health care program on 1-30-15 for

       23   $1,206,817, guilty.

       24            As to Count 20 of the Indictment, receipt of kickbacks

       25   in connection with a Federal health care program on 2-13-15 for
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        1   $1,964,741, guilty.

        2            As to Count 22 of the Indictment, receipt of kickbacks

        3   in connection with a Federal health care program on 2-27-15 for

        4   $2,322,451, guilty.

        5            As to Count 23 of the Indictment, receipt of kickbacks

        6   in connection with a Federal health care program on 3-13-15 for

        7   $3,644,894, guilty.

        8            As to Count 24 of the Indictment, receipt of kickbacks

        9   in connection with a Federal health care program on 3-27-15 for

       10   $1,630,903, guilty.

       11            As to Count 25 of the Indictment, receipt of kickbacks

       12   in connection with a Federal health care program on 4-10-15 for

       13   $4,425,544, guilty.

       14            As to Count 26 of the Indictment, receipt of kickbacks

       15   in connection with a Federal health care program on 4-27-15 for

       16   $1,832,268, guilty.

       17            As to Count 28 of the Indictment, receipt of kickbacks

       18   in connection with a Federal health care program on 5-19-15 for

       19   $690,733, not guilty.

       20            As to Count 29 of the Indictment, receipt of kickbacks

       21   in connection with a Federal health care program on 5-29-15 for

       22   $188,844, not guilty.

       23            As to Count 30 of the Indictment, receipt of kickbacks

       24   in connection with a Federal health care program on 5-29-15 for

       25   $43,164, not guilty.
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        1            As to Count 31 of the Indictment, receipt of kickbacks

        2   in connection with a Federal health care program on June 12,

        3   2015 for $6,156, not guilty.

        4            As to Count 32 of the Indictment, receipt of kickbacks

        5   in connection with a Federal health care program on June 26,

        6   2015 for $69,615, not guilty.

        7            As to Count 33 of the Indictment, receipt of kickbacks

        8   in connection with a Federal health care program on June 29,

        9   2015 for $60,360, not guilty.

       10            As to Count 36 of the Indictment, payment of kickbacks

       11   in connection with a Federal health care program on 1-20-15 for

       12   $1,800, not guilty.

       13            As to Count 37 of the Indictment, payment of kickbacks

       14   in connection with a Federal health care program on 2-18-15 for

       15   $1,680, not guilty.

       16            As to Count 38 of the Indictment, payment of kickbacks

       17   in connection with a Federal health care program on 2-18-15 for

       18   $1,680, not guilty.

       19            As to Count 39 of the Indictment, payment of kickbacks

       20   in connection with a Federal health care program on 2-23-15 for

       21   $1,750, not guilty.

       22            As to Count 40 of the Indictment, payment of kickbacks

       23   in connection with a Federal health care program on 3-18-15 for

       24   $3,400, not guilty.

       25            As to Count 41 of the Indictment, payment of kickbacks
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        1   in connection with a Federal health care program on 3-18-15 for

        2   $1,650, not guilty.

        3            As to Count 43 of the Indictment, payment of kickbacks

        4   in connection with a Federal health care program on 4-22-15 for

        5   $900, not guilty.

        6            As to Count 44 of the Indictment, payment of kickbacks

        7   in connection with a Federal health care program on 4-22-15 for

        8   $1,600, not guilty.

        9            As to Count 45 of the Indictment, money laundering on

       10   2-3-15 for $105,545, guilty.

       11            As to Count 46 of the Indictment, money laundering on

       12   5-22-15 for $90,478, not guilty.

       13            As to Count 47 of the Indictment, money laundering on

       14   3-4-16 for $250,000, not guilty.

       15            As to Count 48 of the Indictment, money laundering on

       16   3-5-16 for $1,539,815, not guilty.

       17            As to Count 49 of the Indictment, money laundering on

       18   4-5-16 for $24,521, not guilty.

       19            So say we all, dated 2-5-2018, foreperson of the jury,

       20   printed name and signature, Kelly Padron.

       21            THE COURT:    Poll the jury, please.

       22            THE COURTROOM DEPUTY:      Ladies and gentlemen of the

       23   jury, as I call your name, please answer yes or no:       Is the

       24   verdict I have just read your verdict?

       25            Reshma Vettaparambil.
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                                                                                      21


        1            MS. VETTAPARAMBIL:      Yes.

        2            THE COURTROOM DEPUTY:        James Jones.

        3            MR. J. JONES:    Yes.

        4            THE COURTROOM DEPUTY:        Angelica Berezin.

        5            MS. BEREZIN:    Yes.

        6            THE COURTROOM DEPUTY:        Kelly Ann Padron.

        7            MS. PADRON:    Yes.

        8            THE COURTROOM DEPUTY:        Diego Hurtado.

        9            MR. HURTADO:    Yes.

       10            THE COURTROOM DEPUTY:        Leisy Meneses.

       11            MS. MENESES:    Yes.

       12            THE COURTROOM DEPUTY:        Berny Garcia.

       13            MR. GARCIA:    Yes.

       14            THE COURTROOM DEPUTY:        Pedro Bodden.

       15            MR. BODDEN:    Yes.

       16            THE COURTROOM DEPUTY:        German Merida.

       17            MR. MERIDA:    Yes.

       18            THE COURTROOM DEPUTY:        Gerald Jones.

       19            MR. G. JONES:    Yes.

       20            THE COURTROOM DEPUTY:        Jansel Febres Cotto.

       21            MR. FEBRES:    Yes.

       22            THE COURTROOM DEPUTY:        Dineiska Rodriguez.

       23            MS. RODRIGUEZ:    Yes.

       24            THE COURT:    Ladies and gentlemen of the jury, I want to

       25   thank you for your service in this particular case.          The length
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        1   of your deliberations, the questions that you asked throughout

        2   the deliberations and the verdicts that you reached,

        3   distinguishing one count from another, is a credit to how

        4   carefully you reviewed all of the evidence in this case, and I

        5   want to thank you.

        6            As a token of my appreciation I'm going to have here

        7   certificates as well as your attendance sheet which we give you

        8   in exchange for your juror badge.

        9            No one linked to the case by friendship, family,

       10   occupation will inquire as to the reasons why you reached the

       11   verdict that you did -- the verdicts that you did.            No one

       12   related to the case will inquire under the pain of contempt.

       13   You, of course, can refuse to talk about the case with whomever

       14   you want, or you can talk about the case, as long as it's not

       15   someone linked to one side or the other.

       16            We'll give you back your phones.            We'll keep the

       17   notebooks and we destroy the paper.          We keep all the evidence

       18   because it has to be filed, and we thank you for your service.

       19   You're always welcome in whatever capacity you want.            You've

       20   been a great jury, and I want to compliment you on that.               All

       21   right?

       22            Have a good afternoon now.          Okay.    Thank you.

       23            THE COURT SECURITY OFFICER:         All rise.

       24            THE COURT:    If you want the newspapers articles or

       25   whatever, my courtroom deputy has made copies for you, if you
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                                                                                       23


        1   want.   Okay?

        2      (The jury retired from the courtroom at 1:05 p.m.)

        3              THE COURT:   Mr. Grow, the jury having found not guilty

        4   of Counts 2, 3, 4, 6, 7, 8, 28, 29, 30, 31, 32, 33, 36 -- you

        5   can all be seated -- 37, 38, 39, 40, 41, 43, 44, 46, 47, 48 and

        6   49, you are hereby acquitted from that.

        7              The jury having found you guilty of Counts 1, 5, 9, 10,

        8   11, 12, 13, 14, 17, 18, 20, 22, 23, 24, 25, 26 and 45, I accept

        9   the verdict.     I adjudicate you guilty.       I order a Presentence

       10   Investigation Report and schedule sentencing for April 16, 2018

       11   at 9:30 in the morning.

       12              In view of the nature of the offenses and because of

       13   the money involved and the high guidelines that I expect will be

       14   shown, I'm going to take you into custody until the sentencing.

       15   So I know you probably have friends and family and loved ones

       16   here.   You should give your belt and your tie and your

       17   belongings to them and then we'll see you at sentencing.          A

       18   Presentence Investigation Report will be done.

       19              Oh, you know what?   I forgot the forfeiture.       Darn it.

       20   It's been going on so long.     Kenny, go outside, the court

       21   security officers, stop the jurors outside.         I forgot that.    My

       22   mistake.    Hold on, we have to do that.        All right.   I forgot.

       23   Someone should have said something.          You've got to remind me.

       24   When a judge makes a mistake never be reluctant to get up and

       25   say something.    We're human beings.        I forgot all about it.
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        1            THE COURT SECURITY OFFICER:           There are all still here.

        2            THE COURT:    They're all still here?         Okay.   I don't

        3   whether he wants to put on his tie or his coat.           It doesn't

        4   matter to me.

        5            I forgot all about it.

        6            MR. GROVE:    Your Honor, there's a Special Verdict, that

        7   would have to be fixed.

        8            THE COURT:    I know.    You all are going to make argument

        9   now.

       10            Defendant still wants to proceed to the forfeiture?

       11            MR. MARCUS:    Your Honor, I don't think we need to

       12   retain the jury.

       13            THE COURT:    No, no, it's either you do or you don't.

       14   It doesn't matter to me.

       15            MR. GROVE:    From what I understand, defense wants to

       16   contest --

       17            THE COURT:    No, no.    You all want talk to each other?

       18   You should have done that while we were waiting.           Okay?

       19            I'm asking the defendant whether you still wish to

       20   proceed to the forfeiture.       I made a mistake because -- I've

       21   never done this in the 20 -- what is it now -- 28 years.              So now

       22   they have to decide forfeiture.        It's my fault.     Since the

       23   deliberations were over such a long period of time, I actually

       24   was not thinking and it's my fault, but no harm is done, but we

       25   have to let the one that's going to the doctor go.
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        1             Have you got the forfeiture papers?          Bring my papers

        2   that are on my desk.

        3             So what I'm going to do is I'm going to tell the jurors

        4   they have to come back tomorrow morning for the forfeiture,

        5   unless you want to go with 11.       One of them needs to go to the

        6   doctor.   I think it was the doctor.          I don't remember.

        7             So I want to know what the defendant wants to do.         It

        8   matters not to me, but we've got to organize it with the jurors

        9   because I spoke about this early on last week.

       10             So the issue is, you all were going to be prepared to

       11   do a closing argument, neither side wanted to present evidence,

       12   that's what you all told me.     Now you know what the verdict is.

       13   So the question is:     Argument, instructions, and another Verdict

       14   Form, but we have a juror who has a doctor appointment at 1:00.

       15             So Government is ready to proceed, right?

       16             MR. JUENGER:    Yes, Your Honor.

       17             THE COURT:     And we have another lawyer who has

       18   announced his appearance for the record.           Who is that?

       19             MR. GROVE:     At counsel table, Your Honor, Assistant

       20   United States Attorney, Daren Grove, for the Government.

       21             THE COURT:    Okay.   What say the defendant?

       22             MR. MARCUS:    We are ready to proceed, Your Honor.

       23             THE COURT:    All right.    So you want the jurors to come

       24   back tomorrow?   That's what you want?

       25             How long is your presentation?
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        1            MR. MARCUS:    Five minutes or less, Your Honor.

        2            THE COURT:    How long is the Government's?

        3             MR. GROVE:   Approximately the same, Your Honor.

        4            THE COURT:    All right.    Bring in the jurors.    Let's go.

        5            THE COURT SECURITY OFFICER:         All rise.

        6      (The jury entered the courtroom at 1:10 p.m.)

        7             THE COURT:   Have a seat, folks.       Let me tell you --

        8   please be seated.

        9            There was one other thing that I forgot to do and it's

       10   my fault because, with all the number of counts, I forgot one

       11   other thing that you had to do that we didn't tell you about,

       12   intentionally I didn't tell you about it before, and that is,

       13   whenever there is a forfeiture claim -- forfeiture is where the

       14   Government wants to seize assets -- you also must determine

       15   that.   So I've got to give each side a few minutes, that's all

       16   they want, to tell you on the forfeiture and then I'm going to

       17   give you instructions and a Verdict Form on that.        All right?

       18            Okay.   Government, you may proceed.       Announce your

       19   appearance for the jurors because I don't think they know you,

       20   and tell us what you want to say.

       21            MR. GROVE:    May it please the Court, opposing counsel.

       22             Ladies and gentlemen of the jury --

       23            THE COURT:    No, no, you've got to use a microphone, and

       24   you've got to turn that lectern.       The court reporter can't hear

       25   you otherwise.   Go ahead.
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        1            MR. GROVE:       I will speak over here.

        2            THE COURT:       No, no, no.    Turn the lectern.    This is

        3   forfeiture.

        4               MR. GROVE:    I was going to use the --

        5               THE COURT:    I'm sorry, turn the lectern and make your

        6   argument.     Let's go.

        7                               CLOSING ARGUMENTS

        8               MR. GROVE:    Well, ladies and gentlemen, I haven't had

        9   an opportunity to speak to you yet.           My name is Daren Grove, I'm

       10   an Assistant United States Attorney, and like Kevin and Jon, I

       11   represent the Government.

       12            In this case, or in this matter that's now before you,

       13   essentially what we're asking you to do is to bring life or

       14   meaning to the phrase "crime does not pay."          Now, you found the

       15   defendant guilty of certain offense, and as actually what we've

       16   alleged and we believe the evidence already in the record that

       17   you've probably reviewed, shows, that the defendant profited

       18   from his crimes.

       19            What we're going to ask you to do is to make a finding

       20   that basically there is a connection between certain assets that

       21   I'm going to describe for you now and the crimes that you found

       22   the defendant guilty of.       If you find that connection, then

       23   essentially what we will do then is forfeit that property, which

       24   is to say, we're going to strip the defendant of it, to

       25   essentially bring meaning and effect to the phrase "crime does
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        1   not pay."

        2              So with that, there are two exhibits that I think will

        3   highlight it for you.     Actually can I --

        4              THE COURT:   These were exhibits that were already

        5   admitted?

        6              MR. GROVE:   Yes, Your Honor.

        7              THE COURT:   Give me the numbers.

        8              MR. GROVE:   The first number, Your Honor, is

        9   Government's Exhibit 159, it's a summary chart.

       10              THE COURT:   All right.       You all have it, you can pull

       11   it out, 159.    And the next one?

       12              MR. GROVE:   The next one, Your Honor, is Government's

       13   Exhibit 165.

       14              THE COURT:   Okay.    Any other exhibit?

       15              MR. GROVE:   That's it, Your Honor.

       16              THE COURT:   You can talk about them if you want,

       17   briefly.

       18              MR. GROVE:   Yes, Your Honor.

       19               Essentially, if you will recall, these were exhibits

       20   that were entered during the testimony of a financial examiner,

       21   analyst, Ms. Lisa Klitz.        Essentially what she showed -- what

       22   she showed is essentially the flow of money from Tricare to a

       23   Patient Care America account.         You probably have reviewed this

       24   evidence.    And what she showed is that essentially -- and I know

       25   you can't see it from here and I don't have access to the
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        1   overhead.    But you'll see that the first account that we're

        2   attempting to forfeit is this MGTEN bank account 147 -- I'm

        3   sorry -- MGTEN bank account 4397, and essentially the

        4   allegation, what the evidence has shown, is that that account

        5   received what's called gross proceeds.           That just means funds

        6   went into that account irrespective of what money went out of

        7   that account, just the gross proceeds of these claims to Tricare

        8   that you've heard about, went into this account and went into

        9   this account up to -- and I believe we are alleging

       10   approximately $15 million or so, or actually 19 million.

       11            If you use this exhibit, 159, and just look on the jury

       12   Verdict Form for this account number ending in 4397, you'll see

       13   from this chart and from the evidence that 19 million went into

       14   that account.    So basically what we're asking for, based on the

       15   evidence that you've already seen, is that, in fact, this

       16   account is connected to the crimes that you have convicted the

       17   defendant of, and specifically Counts 1 and 9.           Those are the

       18   two conspiracy counts, so the conspiracy to commit health care

       19   fraud and wire fraud that you found him guilty of, and the

       20   conspiracy to pay and receive kickbacks, that's Count 9.          So

       21   basically this account is traceable to those offenses.

       22               The next bank account is MGTEN bank account -- Bank of

       23   America account 4176, and again, you'll see from this chart,

       24   it's Government's Exhibit 159, again 19 million of proceeds from

       25   this scheme went into that account.         So we ask you to basically
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        1   check the box yes because the evidence shows there is a

        2   connection between this bank account and those crimes.

        3             And then if yes, you will see that there's a blank in

        4   the Verdict Form that you're going to receive, and you basically

        5   will put the amount that you believe the evidence shows went

        6   into that account.    And it's simple enough.        You'll see the

        7   figure that Ms. Klitz actually discussed with you during her

        8   testimony.

        9             Then next you'll see the Monty Grow -- an individual

       10   account, it's bank account number 6597.          Again, if you use this

       11   summary chart and Ms. Klitz's testimony, you'll see that

       12   approximately $9,373,088 went into that account, so it is

       13   connected to the crimes for which you found the defendant

       14   guilty.   And if you see that the evidence proves that -- and by

       15   the way, as the Judge will instruct you, the evidence are the

       16   quantum of evidence.    How much evidence do you need to make

       17   these findings?   It's not beyond a reasonable doubt.         It's going

       18   to be more likely than not, or a preponderance of the evidence.

       19   So if you find more likely than not that $9 million went into

       20   this account, we ask that you make a finding consistent with

       21   that and then put in the amount that you found went into that

       22   account, and it's right there on the exhibit for you.

       23             And then last, from the Monty Grow bank account 6597,

       24   $3 million went into the T Ameritrade account that's in the

       25   defendant's name.
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        1               So we ask, again, that you find, consistent with the

        2   evidence, that more likely than not, this bank account is

        3   traceable to the crimes for which you found him guilty,

        4   specifically Counts 1 and 9, and that the amount of money that

        5   he derived from that crime, or that he got from that crime is at

        6   least $3 million.    Okay.

        7               Now, that's all for the bank accounts.      Now we also

        8   ask --

        9               THE COURT:   Wrap it up.

       10               MR. GROVE:   Last thing, Your Honor, is the Porsche.

       11   You found him guilty of a money laundering offense, specifically

       12   Count 45.    Basically, you found that he spent more than $10,000

       13   of specified unlawful activity proceeds, or money that he

       14   obtained from his crimes that you found him guilty of, he spent

       15   more than $10,000 on a particular asset.          In this case, Count

       16   45, he spent it on a Porsche.       So there's the connection between

       17   the asset and the crime.

       18               All we ask is that you make a finding based on the

       19   evidence that you've already heard that, in fact, the Porsche is

       20   involved in that crime and that's kind of self-explanatory.

       21   Obviously, it is.     You found that he purchased that Porsche with

       22   SUA proceeds, so we ask that you return a Special Verdict

       23   consistent with that.

       24               So ultimately, all we are asking for is just for you to

       25   provide a verdict that is consistent with the evidence and give
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                                                                                          32


        1   life to --

        2             THE COURT:    Thank you.    For the defense.

        3             MR. GROVE:    Yes, Your Honor.         Thank you.

        4             THE COURT:    Thank you.    Mr. Marcus.

        5             MR. MARCUS:   Thank you, Your Honor.

        6             I'm going to keep this brief.          I know you've been

        7   deliberating a long time in this case, and your verdict is

        8   obviously a split one on pretty much all of the different

        9   possible counts that were before you.

       10             To find forfeiture now, as you see, the Government is

       11   asking you to provide forfeiture on a number of bank accounts as

       12   well as Mr. Grow's house that's at 5803 Mariner Street in Tampa.

       13   There are a couple of theories.       There are health care theories,

       14   of which you split in your verdict on the first eight counts,

       15   which comprised health care claims being submitted to Tricare.

       16   To find that monies are the property of those offenses you have

       17   to find that this defendant -- first of all, that false claims

       18   were submitted to Tricare, fraudulent claims, that he knew that

       19   the claims submitted to Tricare were false, and that proceeds

       20   were generated with that knowledge.

       21             The other potential theory is money laundering where

       22   you convicted on one count and dismissed on the remaining four

       23   counts.   For money laundering, we would argue that, as we've

       24   done throughout the case, that none of these transactions were

       25   concealed.   They weren't done -- there was no laundering.            There
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        1   was no hiding of assets.     This was money earned from a business

        2   through a relationship, a marketing relationship, a business

        3   relationship with a pharmacy.        Everything was transparent, in

        4   the open.   You saw that from the exhibits with the bank

        5   accounts, the way the transactions were handled, as well as the

        6   fact that Mr. Grow paid nearly $5 million to the U.S. Treasury

        7   and to IRS for his taxes.

        8             So on these forfeiture counts, particularly I would

        9   direct you to Count 47 that you dismissed, which was monies that

       10   came from the Bank of America account ending in 6597.        You also

       11   acquitted Mr. Grow of money laundering with respect to the MG

       12   bank account from Bank of America ending in 4176, and on Count

       13   48, that was monies that came from the Bank of America account

       14   that ends in 4397.

       15             Thank you.

       16             THE COURT:    You all have the proposed Verdict Form and

       17   the jury instructions that we discussed and prepared.

       18   Government, you have it.     Show it to the defense and hand that

       19   over to me, the Verdict Form and the proposed instructions.

       20             Any objections from the defense?       Just show it to him.

       21   Any objections?   They've seen it before.        We've discussed this

       22   before.

       23             Any objections?

       24             MR. MARCUS:    No objection, Your Honor.

       25             THE COURT:    All right.    Let me have it, please.   Let me
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                                            Charge to the Jury

                                                                                        34


        1   have it, please.

        2            MR. GROVE:     Actually, I'm sorry -- do you have an

        3   objection?

        4            THE COURT:     You do or you don't?

        5            MR. GROVE:     These are counts for which he was

        6   acquitted, your Honor.     I think defense wants us to strike them.

        7   We're fine with that.    I can do that.

        8            THE COURT:     Then do it.        That's why I said, what

        9   instruction do you have, what objections do you have.

       10            Show it to your opponent, also the Verdict Form,

       11   anything you don't like, scratch it out.             Let me see it.

       12            Don't talk into the microphone when you're whispering

       13   to each other.

       14            Any objections to what has been prepared by the

       15   Government, from the Government?           Any objections from the

       16   Government to what you've prepared and deleted?

       17            MR. GROVE:     No, Your Honor.

       18            THE COURT:     Any objections from the defendant as to

       19   what was shown to you?

       20            MR. MARCUS:    No.

       21                            CHARGE TO THE JURY

       22            THE COURT:     Okay.

       23            Members of the jury, your verdict in this case does not

       24   complete your jury service as it would in most cases.            In fact,

       25   this is the first time I've done this in 28 years, which is why
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                                         Charge to the Jury

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        1   I forgot.     It wasn't the fault of the lawyers.       It's my fault.

        2   Because there's another matter you must now consider.

        3            You must decide whether the defendant, Monty Grow,

        4   should forfeit certain money or property to the United States as

        5   a part of the penalty for the crimes charged in the Superseding

        6   Indictment.    In a portion of Superseding Indictment not

        7   previously discussed or disclosed to you, it is alleged that the

        8   defendant got certain money or property from committing the

        9   offenses charged in Counts 1 through 14, 17 through 18, 20, 22

       10   through 26, 28 through 33, 36 through 41, and 43 through 49 of

       11   the Indictment.

       12            In view of your verdict finding the defendant guilty of

       13   some of those offenses, you must also decide whether the money

       14   or property should be forfeited to the United States.         To

       15   forfeit a thing is to be divested or deprived of the ownership

       16   of it as a part of the punishment allowed by the law for certain

       17   criminal offenses.

       18            To decide whether money or property should be

       19   forfeited, you should consider all of the evidence you have

       20   already heard.    There's no additional evidence, but you've heard

       21   the arguments from the lawyers.        I will give you a copy of the

       22   forfeiture allegations and the Superseding Indictment to

       23   consider during your supplemental deliberations, so you'll be

       24   able to see that in the Indictment.          What you have to find is

       25   whether the property to be forfeited constitutes or is derived
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        1   directly or indirectly from gross proceeds traceable to the

        2   commission of a health care offense and you already know what

        3   the offenses were and you know what you did regarding whether

        4   the defendant was guilty or not.

        5            Regarding money laundering, you would have to find that

        6   the property to be forfeited was involved in a money laundering

        7   offense, specifically what you have already analyzed and

        8   discussed, and that the property to be forfeited is traceable to

        9   property that was involved in money laundering offenses.

       10            Before you can find that the defendant must forfeit any

       11   property under any of those standards, you must unanimously

       12   agree upon which of the two standards should be applied in

       13   forfeiting a particular asset.

       14            Now, the standard of proof with forfeiture is not as

       15   great as reasonable doubt.     It's called a preponderance of the

       16   evidence, which simply means the greater weight of the evidence.

       17   It means an amount of evidence that is enough to persuade you

       18   that a claim or contention is more likely true than not true.

       19            To be derived from something means that the money or

       20   property under consideration must have been formed or developed

       21   out of the original source as to be descended from that source.

       22            To be involved in a money laundering offense includes

       23   that money or property which was actually laundered, along with

       24   any commissions or fees paid to the launderer and any property

       25   used to facilitate the laundering offense.        Property will
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        1   facilitate an offense if it makes the prohibited conduct less

        2   difficult or more or less free from obstruction or hinderance.

        3            To be traceable to something means that the property

        4   under consideration must have followed an ascertainable course

        5   or trail in successive stages of development or progress from

        6   the original source.

        7            While deliberating concerning the issue of forfeiture,

        8   you must not re-examine your previous determination regarding

        9   the defendant's guilt.    However, all of the instructions

       10   previously given to you, considering the consideration of the

       11   evidence, the credibility of the witnesses, your duty to

       12   deliberate together, your duty to base your verdict solely on

       13   the evidence without prejudice, bias, or sympathy, and the

       14   necessity of a unanimous verdict will continue to apply to these

       15   supplemental considerations.

       16            All right.    What I have to do now is -- we're going to

       17   give you the Verdict Form, but I have to change a couple of

       18   things in it because you just reached the verdict that you did.

       19   So what I'm going to do is, we're going to give you a copy of

       20   the Verdict Form that you've all entered because I think that

       21   will be helpful, and then I'm going to give you the Special

       22   Verdict Form and we'll send you back and then we'll wait for you

       23   to decide.   All right?   Go back in there.            Next time you come

       24   in, we'll be done.

       25            THE COURT SECURITY OFFICER:              All rise.
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        1      (The jury retired to consider their verdict at 1:29 p.m.)

        2             THE COURT:    Any objections to the jury instructions as

        3   they were given to the jurors, from the Government?

        4             MR. GROVE:    No, Your Honor.

        5             THE COURT:    From the defense?

        6             MR. MARCUS:   No.

        7             THE COURT:    Okay.   The jurors are gone.   The Verdict

        8   Form will include the first three pages of what was submitted,

        9   and on Page 4, it's only the Porsche related to money laundering

       10   offenses.   Government agrees?

       11             MR. GROVE:    That's correct, Your Honor.

       12             THE COURT:    Defense agrees?

       13             MR. MARCUS:    Yes.

       14             THE COURT:    All right.    So that's going to go back.

       15   I'll give them the Verdict Form so that they remember which -- I

       16   mean, they would remember because they've been at it for a long

       17   time, and then just have a seat and wait because I think they'll

       18   decide it quickly.

       19             So we'll retype this and we'll give you copies of the

       20   Verdict Forms with their decision, too.       If the marshals could

       21   hang around for a little bit, this shouldn't take too long, it

       22   will be easier.   So he can just sit there and we'll give you

       23   copies.   We'll give you extra copies in case you want to give it

       24   to anybody of what the jurors have done.

       25             Just be at ease for a few minutes.     I'll get copies of
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        1   the Verdict Form for you all, too, and the final instructions.

        2      (There was a brief recess.)

        3             THE COURT:    Defendant is present, defense counsel,

        4   Government counsel.

        5             I think they have a note.            Please be seated.

        6             I gave them the Special Verdict Form that has what we

        7   indicated on the two sections.        I also cut out from the last

        8   pages of the Indictment the forfeiture provisions and they have

        9   that.   You'll notice when I read the instruction, I deleted the

       10   mention of the two counts that I acquitted the defendant on so

       11   it wouldn't be confusing.

       12             So they have the forfeiture portion of the Indictment,

       13   the Special Verdict Form.       The jury instructions I gave orally

       14   because you all explained it well, but I think they have a

       15   question, and the question is -- we also gave the phone to the

       16   juror who needed to tell the jury doctor she was going to be

       17   late -- "Can we please have a calculator?"            Since there's

       18   something like that, let me see if mine works.

       19             Yeah, here.    Any objection with responding to that?

       20             MR. GROVE:    No, objection, Your Honor.

       21            MR. MARCUS:    No, Your Honor.

       22             THE COURT:    From the defense?

       23            MR. MARCUS:    No.

       24             THE COURT:    Okay.   We'll give them that.        We are

       25   working on it and we'll see.
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        1               Here.   Do you all want copies of the Verdict Forms?          We

        2   will give you some.

        3               MR. MARCUS:    Yes.   Thank you.

        4               MR. JUENGER:    Yes, Your Honor.

        5          (There was a brief discussion off the record.)

        6               THE COURT:    I have given both sides copies of the

        7   Verdict Form and each count has what the charge was, as agreed

        8   by both sides, with the money.

        9               Consistent with how these jurors have been in being

       10   very deliberative in their deliberations, the one juror with the

       11   doctor's appointment, we let her have a phone and she changed it

       12   for tomorrow, but we still have the other juror who has the 4:00

       13   test.     So I still want you all to hang around so that we can

       14   finish the forfeiture portion of the case.

       15               Do you want another copy of the Verdict Form?        Our

       16   machine jammed for a while, but we got it.            Do you want one or

       17   not?

       18               Go ahead, Shirley, give it to them.

       19          (There was a brief recess.)

       20               THE COURT:     Well, it's now 2:20.     Is the cafeteria

       21   still open, or what should we do?            What do you all want to do

       22   with the jury?      Defense?

       23               MR. RASHBAUM:      I'm sorry, what's the question, Your

       24   Honor?

       25               THE COURT:     Well, it's 2:20.      Since I thought we were
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        1   going to quit at 1:00, I told the jurors we wouldn't provide any

        2   lunch for them, but it is now 2:20, and they haven't asked for

        3   anything, but they've been here since 9:00.      So I don't know

        4   what you all want to do with the jury.

        5            There is one that needs to leave probably by 3:00, so I

        6   don't know if it's worth -- I always hate imposing on the jury

        7   and not giving them food.    I just was not prepared for this, so

        8   it's my fault, but what are your suggestions?       Defense?

        9            MR. RASHBAUM:    I have no suggestions.

       10            THE COURT:    What are your suggestions, Government?

       11            MR. LARSEN:     I am personally hungry, so I can imagine

       12   they're very hungry, too.

       13            THE COURT:    I think, even though you don't need it, you

       14   can do without lunch so --

       15            MR. LARSEN:     True.

       16            THE COURT:    I haven't eaten lunch either, which for me

       17   is a big deal.    But in any event, what's going to happen if

       18   you're successful on all the claims for forfeiture?       Was there a

       19   seizure of the -- I know Mr. Rashbaum mentioned in closing

       20   argument that everything had been seized.      What are we talking

       21   about?

       22            MR. GROVE:    That's correct, Your Honor.

       23            THE COURT:    Use one of the two microphones that are by

       24   the lecterns.    I was going to say I didn't mean to rush you, but

       25   I did mean to rush you in closing so I can't say that, because I
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        1   always find that freedom is more important than money.

        2             MR. GROVE:   Your Honor, all the assets that we are

        3   seeking forfeiture of have been seized.        The bank accounts, I do

        4   have --

        5             THE COURT:   Don't you have to give notice in case

        6   someone else wants to claim something?

        7             MR. GROVE:   That's correct, Your Honor.      If the jury

        8   verdict comes back that those assets are subject to forfeiture,

        9   then I would submit a Motion for Preliminary Order of Forfeiture

       10   based on the jury's Special Verdict.         And then, once that order

       11   is entered, then we'd have to publish and give notice to any

       12   known third parties and then we could potentially have an

       13   ancillary proceeding before Your Honor.        I'm sure you'd enjoy

       14   that.

       15             THE COURT:   Well, you know who the potential third

       16   parties are probably.

       17             MR. GROVE:    I mean, we would serve notice to -- if the

       18   bank accounts are forfeited, then we would have to send notice

       19   to the corporate entities, MGTEN, and then through their

       20   registered agent or so forth.

       21             THE COURT:    And who owns that according to your --

       22             MR. GROVE:    I'd have to look at the Articles of

       23   Organization, but I believe the defendant is the only -- I think

       24   he's the sole owner of MGTEN.

       25             THE COURT:   All right.    And what's the defendant going
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        1   to do if they find forfeiture of all items?

        2            MR. RASHBAUM:    I don't think there's anything for us to

        3   do.   I mean, obviously it would be part --

        4            THE COURT:    So what are we doing?

        5            MR. RASHBAUM:    I'm not sure what the question is, Your

        6   Honor.   The jury may find no forfeiture of items.

        7            THE COURT:    Pardon?

        8            MR. RASHBAUM:    The jury is deciding whether to find

        9   forfeiture or not.

       10            THE COURT:    Okay.   And if the jury decides that the

       11   items should not be forfeited and he's been found guilty of

       12   counts with the kickbacks that are $18.8 million and the fraud,

       13   whatever the amount is, is the Government going to seek

       14   restitution?

       15             MR. GROVE:   Your Honor, the Government will certainly

       16   seek restitution, but also will file a Motion for a Forfeiture

       17   Money Judgment.

       18            THE COURT:    No, if you win on forfeiture.

       19            MR. GROVE:    Or even if we lose, frankly, Your Honor.

       20             THE COURT:   If you lose, you are going to --

       21            MR. GROVE:    That's correct.

       22            THE COURT:    It doesn't matter what we do.

       23            MR. GROVE:    I guess the thing is, Your Honor, the

       24   defendant is entitled to a jury if we want to deprive him of

       25   specific property that we allege is connected to the crime.
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        1               THE COURT:   If you want me to order restitution after a

        2   jury has found him guilty, he is also entitled to the jury's

        3   decision of guilt, which he got in part, which is -- it just

        4   ratifies my experience of never having to do this after a guilty

        5   verdict.     I have done it civilly, by the way, where people do

        6   fight for money, but I'm not understanding.

        7               You're going to ask in any event for a forfeiture,

        8   even if the jury says no.

        9               MR. GROVE:   That's correct, Your Honor.

       10               THE COURT:   So if the jury says yes, you're going to do

       11   the same thing as if the jury says no.

       12              MR. GROVE:    It will be slightly different.

       13               THE COURT:   Tell me what the difference is.

       14               MR. GROVE:   Really all we're asking the jury to do is

       15   to make a factual finding that there's a connection between his

       16   crimes of conviction and property that we've seized.        If they

       17   say there's no actual connection between the two, like for

       18   instance that he didn't profit directly from his crimes by

       19   virtue of ownership of these assets, we nonetheless can say,

       20   well, he did profit from the crime, and we'll have to show

       21   evidence of that, to the tune of this amount of money, but we

       22   just couldn't find assets.

       23               THE COURT:   What do you mean, you'll have to show

       24   evidence?    Hasn't the Government proven some money?

       25              MR. GROVE:    Yes, Your Honor.
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        1               THE COURT:   They have, right?

        2               MR. GROVE:   What we would do is we'd just cite to the

        3   trial record and probably Ms. Klitz's testimony, again, the

        4   financial analyst, to talk about essentially the money that was

        5   derived from claims submitted to Tricare.

        6               THE COURT:   You've already done that.

        7               MR. GROVE:   That's correct, Your Honor, but we would

        8   just in a separate motion -- because it's really not for the

        9   jury to determine that, in a separate motion to Your Honor we

       10   would make a Motion for Entry of a Forfeiture Money Judgment in

       11   that sum, and I imagine defense counsel would object, so there

       12   would probably be some hearing prior --

       13               THE COURT:   To do what?    What would the hearing be

       14   about?

       15               MR. GROVE:   The amount of money that the defendant

       16   should be ordered to pay.

       17               THE COURT:   But hasn't that been proven at the trial

       18   already?

       19               MR. GROVE:   The Government would argue it has, Your

       20   Honor.     I imagine defense would object --

       21               THE COURT:   Well, yeah, they're going to object and

       22   appeal and they have every right to, but if the jury has already

       23   made that finding, then where are we going, which is what I

       24   asked and you said you don't understand what I meant, where are

       25   we going.    Well, that's where we're going.     We're going nowhere
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        1   because it doesn't make any difference what we're doing.

        2            That's kind of what the prosecutor has just said.

        3             MR. RASHBAUM:   Not always, Your Honor.

        4             THE COURT:   Pardon?

        5             MR. RASHBAUM:   Not always, Your Honor.

        6            THE COURT:    What do you mean?      That's what I'm asking,

        7   where are we going?

        8             MR. RASHBAUM:   So let's say the jury comes back and

        9   says no forfeiture.

       10            THE COURT:    Okay.

       11             MR. RASHBAUM:   Let's just assume that hypothetically

       12   and then there's a sentencing hearing in which the Government

       13   says we want forfeiture of what the jury found no forfeiture on.

       14   First of all, that might affect your decision on whether to give

       15   forfeiture or not, and second of all, that might affect some of

       16   our appellate issues with the Eleventh Circuit.

       17             THE COURT:   What appellate issues?

       18            MR. RASHBAUM:    Well, we're not going to get into all of

       19   them.   On the forfeiture issue, there would be an appellate

       20   issue on the forfeiture issue considering that the jury had

       21   found that they were not proceeds of fraud.

       22            THE COURT:    Obviously, if they do that.      However, isn't

       23   there a right -- is restitution mandatory?

       24             MR. RASHBAUM:   Restitution is --

       25             THE COURT:   How about if I ask the Government?      They
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        1   come up with it more quickly.     Is restitution mandatory?

        2            MR. JUENGER:    It is, Your Honor.

        3            THE COURT:    Yes.   And the restitution should be in the

        4   amount of the money, right?     The money happens to be $18.8

        5   million, right?   So I'm going to order restitution, right?

        6            MR. RASHBAUM:    I don't know what you're going to do.

        7            THE COURT:     If it's mandatory, you better believe I'm

        8   going to order restitution because, if not, the Eleventh Circuit

        9   would reverse me on that.     So I'm going to order that the money

       10   be paid back in any event, whether you label it forfeiture,

       11   whether you label it restitution.        A rose by any other name is

       12   still a rose, which is probably why I've never had this after a

       13   guilty verdict.

       14            MR. RASHBAUM:    Judge, it sometimes also goes to the

       15   merits of the case and the sufficiency of the evidence of the

       16   actual case.

       17            THE COURT:     What goes to the --

       18            MR. RASHBAUM:    Their ruling on forfeiture.

       19            THE COURT:    You mean, if they find forfeiture it

       20   weakens your sufficiency case, which is why you would want that.

       21            MR. RASHBAUM:     I didn't say that.

       22            THE COURT:     Well, what's the other alternative?

       23            MR. RASHBAUM:    In the last case Mr. Marcus and I lost,

       24   we lost the case and they didn't find forfeiture.       They didn't

       25   take a penny -- did they take a penny?        Maybe a penny.
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        1               THE COURT:    And no restitution was ordered?

        2               MR. RASHBAUM:    It hasn't been litigated yet.

        3               THE COURT:    What do you mean?        He hasn't been sentenced

        4   yet?

        5          (There was a brief discussion off the record.)

        6               MR. MARCUS:     The Government had a hard time finding

        7   victims in that case that qualified.

        8               THE COURT:    Well, who's the victim in this case?

        9               MR. GROVE:    It would be Tricare, Your Honor.

       10               THE COURT:    I have a feeling they will find it.

       11               MR. MARCUS:     It depends on the counts that get

       12   affirmed.    I understand.

       13               THE COURT:    Well, no, the order is going to be made

       14   before they're affirmed and then you can appeal.            I'm not going

       15   to wait.     Did that judge wait before entering a final judgment?

       16   You couldn't appeal if I don't enter a final judgment.

       17               MR. MARCUS:   Well, so Counts 1 and 5, which we've been

       18   talking about, you know, we obviously made our Rule 29 arguments

       19   that we'll renew on the health care claims.             Whether those

       20   counts remain at sentencing will factor into this equation.

       21   Otherwise, they're just talking about the kickback counts where

       22   they were convictions on.

       23               THE COURT:    I know, but it's 18 million dollars' worth.

       24               MR. MARCUS:     Well --

       25               THE COURT:    I added them, I just added them.        While you
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        1   were sitting there, I took the calculator.            I could have added

        2   wrong, but it's 18.8.

        3             MR. JUENGER:    Can I add my two cents, Your Honor?

        4             THE COURT:     Well, no, it's $18 million.        If it's two

        5   cents, I probably wouldn't let you do it.

        6             MR. JUENGER:     Because I've working --

        7             THE COURT:   See, it doesn't really matter.         It doesn't

        8   really matter.   So I always wonder why we spend so much time and

        9   money on things that don't really matter.            I understand the

       10   frustration when there's a mixed verdict on both sides.            You're

       11   not happy either way, though I suspect the defendant is less

       12   happy, which is normal.     All right.         But there's going to be an

       13   order of restitution, absolutely, unless I throw everything out.

       14   And I've already said that on the kickback there's really no

       15   reason to unless I am convinced otherwise.            If not, I would have

       16   granted judgment of acquittal on the fraud, the conspiracy, but

       17   you've got the kickbacks which add up to $18 million in any

       18   event.   I am going to order it.       Does he have it?     It's the $18

       19   million that has been seized or where is the money?

       20             MR. GROVE:     No, Your Honor.        We have seized I would

       21   say, at most, approximately $2 million.

       22             THE COURT:     Okay.   So where do we go from there?       See,

       23   that's the whole thing.

       24             I always wonder what are you fighting for, and I'm not

       25   understanding what you're fighting for.
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        1              If you think a finding by the jury on forfeiture will

        2   have an impact on the sufficiency of the evidence, I think

        3   you're mistaken.    Plus, even if you're not, it's too big of a

        4   gamble because then, if they find that it should be forfeited,

        5   you're even worse off.

        6              But I don't think the Court of Appeals and certainly I

        7   won't say, well, they found -- they already have a mixed verdict

        8   and he only has $2 million, though I assume maybe there's money

        9   someplace.    Since $20 million was made there's got to be some

       10   money someplace, which is why I find him a risk of flight.

       11              So why are we going through with this?     You're entitled

       12   to it, but since we've got time now at 2:30, and they have been

       13   at it for almost two hours, the jurors, on this, what am I

       14   missing?     Where are we going?

       15              MR. MARCUS:   Well, Judge, we're not going to stipulate

       16   to something, a legal finding or a factual finding.       That's one

       17   issue, right?     Even today the verdict --

       18              THE COURT:    And the reason you won't is because you

       19   think you would lose your right to appeal.

       20              MR. MARCUS:   We're not going to concede any findings on

       21   the factual evidence in the case.

       22              THE COURT:    Okay.   What do you think will be the most

       23   important factor for me in any white-collar crime before I

       24   sentence individuals?      What do you think is the most important

       25   factor, one of the most important factors, considering 3553(a)
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        1   and all of that?    What do you think it is?       I mean, I have said

        2   it so many times.

        3            MR. RASHBAUM:    Prepayment of money.

        4            THE COURT:    Pay back the money you stole, and you

        5   probably have suffered through a few sentencings even during

        6   this trial.   Pay back the money that was taken.

        7            Now, someone says they're not guilty, I understand, but

        8   I'm going to order it anyway, right?          I mean, what judge would

        9   not order restitution when it's mandatory?         So it's going to be

       10   ordered anyway.

       11            MR. MARCUS:     Judge, we just had a verdict.       I mean,

       12   even when you look at the kickback counts --

       13            THE COURT:    I know you've had a verdict and it's

       14   difficult.    The problem is, we are forcing the jury to decide

       15   immediately after -- to show you how conscientious they are,

       16   they have skipped lunch.     They thought they were going to go

       17   home at 1:00 and they are still deliberating.         That shows you

       18   what a great jury you all picked despite the outcome the way you

       19   see it, which I understand.      I understand.

       20            MR. MARCUS:     We think it's more significant, Your

       21   Honor.

       22            THE COURT:    You do.   All right.      I'm missing it.

       23            MR. MARCUS:     Okay.   So on the kickbacks they found

       24   nothing on payments.     They found only the receipt charges and

       25   only receipt charges after he became a W-2 employee after April
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        1   of 2015.

        2              So, again, that goes to the compensation, the monies he

        3   received from the pharmacy.       I mean, that goes to that W-2, 1099

        4   issue, but they found not guilty after he was converted by the

        5   pharmacy to W-2.

        6              THE COURT:    By what standard?

        7              MR. MARCUS:     Well, you're asking me, right?

        8              THE COURT:    Yes, I am.    By what standard did they make

        9   that finding?

       10              MR. MARCUS:     Well, they're supposed to make it beyond a

       11   reasonable doubt.

       12              THE COURT:    I know and that's what they did.     By what

       13   standard do they decide forfeiture?

       14              MR. RASHBAUM:    Preponderance.

       15              MR. MARCUS:     It's a preponderance standard.

       16              THE COURT:    Which is a lesser standard, right?    So you

       17   could have those inconsistencies easily, but what difference

       18   does it make?

       19              What is he looking at as far as the sentence here

       20   according to the guidelines, more or less?       I'm not binding you

       21   to anything and, of course, I am not sentencing him today.        What

       22   are we talking about?

       23              MR. LARSEN:    Your Honor, we were originally looking at

       24   life, 300 --

       25              THE COURT:    Life.
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        1            MR. LARSEN:    Close to it, 360.     I mean, that was

        2   originally when we were calculating the guidelines.

        3            THE COURT:    And what about now?

        4            MR. LARSEN:    Your Honor, I mean, I still think it's

        5   significant.    I think it's north of 200, 240 months.

        6            THE COURT:    Is that what you're going to ask for?

        7            MR. LARSEN:    Your Honor, we're going to ask for a

        8   sentence within the guidelines, yes.

        9            THE COURT:     Whatever it is.

       10            MR. LARSEN:    Well, I'd like to go back and consider it,

       11   but, yeah, I believe it's appropriate.

       12            THE COURT:    And what is the defendant going to ask for?

       13   I know it's difficult.

       14            MR. RASHBAUM:     Judge, we haven't even --

       15            MR. MARCUS:     It's going to be contested.

       16            THE COURT:    Of course, it's going to be contested.

       17            MR. MARCUS:     The guidelines will certainly be

       18   contested.     It depends a lot on what happens with Counts 1 and

       19   5.

       20            THE COURT:    Right now he's been found guilty.

       21            MR. MARCUS:    Yes, right.      Those are two counts you

       22   indicated you were leaning --

       23            THE COURT:    Assume I agree with the jury, then what is

       24   he looking at?

       25            MR. RASHBAUM:    What is he looking at or what are we
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        1   going to ask for?

        2               THE COURT:   No, we first start with what he's looking

        3   at and then what you're going to ask for.

        4            MR. RASHBAUM:      I mean, I think the Government will take

        5   the position that he's looking at 240 months.

        6               THE COURT:   And based upon what the jurors found, how

        7   are the guidelines any different when the jurors have made the

        8   finding based on the evidence as presented?

        9               MR. RASHBAUM:   Okay.     So I'm not sure --

       10               THE COURT:   Isn't that what it is?

       11               MR. RASHBAUM:   Judge, I'm not sure what you're asking

       12   us.   I mean, the bottom line is --

       13            THE COURT:      I ask specific questions.        I say:   What are

       14   you going to ask for?

       15            MR. RASHBAUM:      Judge, we are not in a position to tell

       16   you what we're asking for at this point.             We don't know.   We

       17   haven't even looked at what he's been found guilty of and not

       18   guilty of.

       19            THE COURT:      I just gave you copies of the Verdict Form.

       20            MR. RASHBAUM:      I understand, Your Honor.        We're not law

       21   professors, so it takes us some time to look at things.

       22            THE COURT:      Thank goodness, because law professors

       23   would probably be the worst trial lawyers around.             There's no

       24   question.    Do they make good judges?           I leave that up to the

       25   President and the Senate, but sometimes they're just theorists
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        1   and we have to be practical.     But my focus was on what we are

        2   doing now.

        3            We're waiting for a jury to decide whether money that

        4   has already been seized should be kept by the Government,

        5   barring any third party.    Apparently, there's no third party,

        6   all right, because the companies are owned by the defendant.

        7            I would assume the defendant's most -- and I've said

        8   this already because I say it in every case, not in front of the

        9   jury of course, that the defendant's primary consideration is

       10   how much time is he going to spend in prison.       I would think

       11   that's the most important thing, versus a Porsche, for example.

       12   All right.   Which is one of the counts in the money laundering.

       13            So if the jury is spending hours on the Porsche, which

       14   can be seized in any event through administrative proceedings, I

       15   wonder why do we fight over the Porsche, even if you're

       16   constitutionally entitled to the Porsche, when it's a lot more

       17   important if he is going to get, as the Government suggests, 30

       18   years to life.   I mean, that's what I'm not getting, but

       19   apparently, I'm in left field, which sometimes I am and you'll

       20   bring me home.

       21            But it's always better, since we've got some time here

       22   outside the presence of the jury -- and he's been convicted

       23   already, not before -- of some practical considerations, but

       24   I've been accused, I suspect, of being overly practical.

       25            MR. RASHBAUM:    One is not exclusive of the other, Your
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        1   Honor, so --

        2              THE COURT:   What is not exclusive of the other?

        3              MR. RASHBAUM:    So you're asking about freedom versus

        4   money.   We had a trial on freedom and we will have a Rule 29 on

        5   freedom and we will have --

        6              THE COURT:   I have already ruled on it.    You can renew

        7   it.   I've ruled.

        8              MR. RASHBAUM:   Okay.     And we will have a sentencing on

        9   freedom.

       10              THE COURT:   We will.     No, no, the sentencing will

       11   include money --

       12              MR. RASHBAUM:   I understand.

       13              THE COURT:   -- because I'm mandated to order

       14   restitution.

       15              I suspect the restitution order will be consistent with

       16   the jurors' finding in the Verdict Form by the counts.        So that

       17   will be the same $18 million that will be ordered whether it's

       18   through mandatory restitution or through forfeiture.        It's the

       19   same amount of money.      So the only distinction is -- do we have

       20   real estate?

       21              MR. GROVE:   There is, Your Honor.

       22              THE COURT:   Which one?

       23              MR. GROVE:   The one at 5803 Mariner Street.

       24              THE COURT:   Okay.   What is that?

       25              MR. GROVE:   That's a residence, Your Honor.
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        1              THE COURT:    Whose residence?

        2              MR. GROVE:    The defendant's residence in Tampa.

        3              THE COURT:    All right.       And then another item that's

        4   not money is what?

        5              MR. GROVE:    There are jet skis, Your Honor.

        6              THE COURT:    The jet skis, I want to make sure, that's

        7   important, right?       The jet skis and?

        8              MR. GROVE:    And then there's also a Land Rover vehicle.

        9              THE COURT:    The Land Rover, that's paid for, the

       10   Porsche.

       11              MR. GROVE:    The Porsche.

       12              THE COURT:    That's what the fight is about.       Are you

       13   entitled to fight it?       Of course, you're entitled.

       14              MR. RASHBAUM:     Judge, I'm just trying to answer your

       15   question.     If you want me to finish my answer, I can try to.          I

       16   mean, I'm just trying to answer your question.

       17              THE COURT:    What was my question?

       18              MR. RASHBAUM:     Your question was comparing freedom to

       19   these assets, and they are two separate issues.

       20              THE COURT:    No question about it.

       21               MR. RASHBAUM:    So --

       22              THE COURT:    That's why we've got the same jury deciding

       23   that separately.

       24              MR. RASHBAUM:     Right.      So one has absolutely nothing to

       25   do with the other.      I'm not even sure why we're conflating the
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        1   two.     Right?   Mr. Grow had a trial.      The jury found what it

        2   found.

        3               THE COURT:   The jury found him guilty of many counts.

        4               MR. RASHBAUM:   And they found him not guilty of many

        5   counts.

        6               THE COURT:   You're right, but you know that in law in

        7   Federal court, it doesn't make as much difference as people

        8   think.

        9               MR. RASHBAUM:   That may be, Your Honor.     Again, that

       10   may be, or it may make a difference, right?         It may make a

       11   difference.

       12               THE COURT:   I don't know.

       13              MR. RASHBAUM:    I don't know either, but that's

       14   irrelevant to the question you are asking us.

       15               THE COURT:   No, it's not irrelevant.

       16              MR. RASHBAUM:    It is.    Judge, you asked --

       17               THE COURT:   You can disagree.

       18               MR. RASHBAUM:   Okay.    It wouldn't be the first time.

       19               THE COURT:   We'll the fight over the Porsche and the

       20   house.     If he is going to be sentenced to 30 years, it doesn't

       21   really matter unless -- who else lives in the house?

       22               MR. GROVE:   That I'm not aware of.

       23               THE COURT:   Well, you'll find out if there's a third

       24   party, but that will be separate, it won't have anything to do

       25   with me, see.
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        1             MR. MARCUS:    We didn't bring these -- the Government

        2   has asked for the findings of the jury.           I mean, you're asking

        3   us either to stipulate to them or contest.           I mean, those are

        4   the only two choices we have on the defense side.             These are not

        5   our charges.

        6             THE COURT:    You're right.         You're right.

        7             MR. GROVE:    There is one other option that we sort of

        8   explored, but I guess we didn't explain it very well, and that

        9   is, defense can reserve the right to challenge forfeiture, but

       10   yet nonetheless elect not to retain the jury for that purpose,

       11   for the finding of fact, is there a connection between the asset

       12   and the crime of conviction.     They could instead elect to have

       13   that factual finding be made by the Court.

       14             THE COURT:    But except for the property, the money is

       15   going to be ordered by the Court in any event, folks, right?

       16             MR. GROVE:    Right.

       17             THE COURT:    So he would have to have -- $18 million is

       18   going to be ordered in any event, or whatever the amount of

       19   money is, I could have been wrong, because that's what the jury

       20   found.   So it's really a fight over a house, a Land Rover, a

       21   Porsche, and some jet skis, right?

       22             MR. GROVE:    And some bank accounts, Your Honor.

       23             THE COURT:    No, the bank accounts have money.

       24             MR. GROVE:    That's correct.

       25            THE COURT:     So if you order money, where does the money
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        1   come from to pay the restitution?

        2             MR. GROVE:     It will come at least from those bank

        3   accounts.

        4             THE COURT:     So it doesn't matter, see, except for the

        5   jet skis.     I can't believe -- are you entitled to a jury trial

        6   on jet skis seized?      The answer is yes.   Does it make any sense

        7   to fight over that?      It does if you are not fighting to avoid

        8   what I'm told the guidelines are, if they are -- I don't know if

        9   they are, but guidelines many times are driven by the amount of

       10   money, of 30 years to life.

       11             Now, you know, these are pyrrhic victories.       So you win

       12   on the Porsche and the house and the Land Rover and you get

       13   sentenced to 30 years, what does that mean, unless someone else

       14   has it?

       15             MR. RASHBAUM:     See, this is where we have the

       16   disconnect.

       17             THE COURT:     You obviously do, I agree with you.

       18             MR. RASHBAUM:     We do.

       19             THE COURT:     I agree with you that you have a

       20   disconnect.

       21             MR. RASHBAUM:     We do, unless what you're saying to us

       22   is by fighting on the forfeiture and getting our constitutional

       23   right, that you are somehow going to hold that against Mr. Grow

       24   in his sentence.

       25               THE COURT:   I would never hold it against a defendant
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        1   for that.

        2              MR. RASHBAUM:    Okay, good.

        3              THE COURT:    But it doesn't help him either.

        4               MR. RASHBAUM:    But we --

        5              THE COURT:    How does it help you?

        6              MR. RASHBAUM:    With all due respect, we're his lawyers

        7   and we think it may help him.

        8              THE COURT:    All right.      All right.

        9              MR. RASHBAUM:    So we're making a strategic decision,

       10   which we are allowed to do as his lawyers, we're making a

       11   strategic decision to use his constitutional rights to have this

       12   jury decide in forfeiture because we believe that that may help

       13   us down the road in something more than money.

       14              THE COURT:    All right.      All right.   So if they say no

       15   Porsche, the Eleventh Circuit will say judgment of acquittal

       16   granted.    All right.     I don't think so but --

       17              MR. RASHBAUM:    That's not what we're saying, Judge.

       18              THE COURT:    But that is what you're what saying.

       19              MR. RASHBAUM:    No, that's not what we're saying, but

       20   maybe one day we'll see what happens.

       21              THE COURT:    We will see what happens one day, though

       22   you've selected such a deliberative jury, they take everything

       23   seriously, so they will have to come back tomorrow to decide

       24   this.   No question about that, and I have to decide when to let

       25   them go so that the one juror can have his test.          Remember?
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        1   That's the problem.

        2             We all have to think about the jurors who take their

        3   time to be here.     We can't forget about them, and they're the

        4   ones who make the decision.     One has already canceled a doctor's

        5   appointment.    That doesn't affect their decisions and it doesn't

        6   affect my decision.     I don't really care one way or another, I

        7   really don't, but I always want to understand.

        8             And since I've never had one in all these years, I

        9   guess it's not unusual to ask:      Why is this the first time?      And

       10   I still don't understand it, but the answer is, the lawyers have

       11   decided it's strategically important and they have the right to

       12   do that and I've given them the right to do that, as I would

       13   under any circumstances.    I'm just wondering why no one else has

       14   asked for it.

       15             It's quarter to 3:00, so why don't we let the marshals

       16   take care of the defendant and you all come back at 3:15.           We

       17   have to figure out what to do, if I send food for the jurors or

       18   not.   All right?    We will do that.        Give the court reporter a

       19   bathroom break.

       20      (There was a brief recess and the following proceedings were

       21   held at 3:00 p.m.)

       22             THE COURT:    We have a note from the jurors.        The note

       23   is:    We have a verdict.   Let's see what they say.

       24      (The jury entered the courtroom at 3:01 p.m.)

       25             THE COURT:   Thank you, folks.        We have all the jurors.
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        1   The defendant is present, defense counsel, Government counsel.

        2            Thank you very much.       Please be seated.      And thank you

        3   for working through the lunch hour.            I appreciate it.   I was

        4   thinking, and the lawyers were very cooperative, to say what are

        5   we going to do with the jurors for lunch, and I know that one of

        6   you has the test at 4:00.    So we were going to bring you back

        7   tomorrow if we needed to because, as I mentioned repeatedly,

        8   there's no rush.   And I couldn't tell you about the forfeiture

        9   while you were discussing the other matters because it wasn't

       10   appropriate.   So I hope you understand, okay, though you have a

       11   verdict I understand.

       12            JUROR PADRON:     Yes.

       13            THE COURT:     Let me see it.

       14            All right.    Madam Clerk, publish the verdict.          You can

       15   start on Page 2.   Okay?

       16            THE COURTROOM DEPUTY:        All right.

       17            We, the jury, unanimously find by a preponderance of

       18   the evidence and return the following Special Verdict as to the

       19   specific property alleged to be subject to criminal forfeiture

       20   in the above-styled criminal case.

       21            Section I, health care offenses:

       22            The following property constitutes or is derived

       23   directly or indirectly from the gross proceeds traceable to the

       24   commission of the health care offenses as indicated below:

       25            1.    Money or funds in Account Number 229042044397 held
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        1   at Bank of America, N.A. in the name of MGTEN Marketing Group.

        2   Count 1, no.    Count 9, no.

        3             2.   Money or funds in the Account Number 898067684176

        4   held at Bank of America, N.A. in the name of MGTEN Marketing

        5   Group.   Count 1, yes.    Count 9, yes.

        6             If yes, up to the following amount, $988,834 (US).

        7            3.    Money or funds in Account Number 229019916597 held

        8   at Bank of America, N.A. in the name of Monty Grow.       Count 1,

        9   yes.   Count 9, yes.

       10            If yes, up to the following amount of $1,680,922 (US).

       11             4.   Money or funds in Account Number 869-914682 held at

       12   TD Ameritrade in the name of Monty Ray Grow.       Count 1, no.

       13   Count 9, no.

       14             Section II, money laundering offenses:

       15            The following property was involved in the money

       16   laundering offenses as indicated below or is traceable to

       17   property that was involved in the money laundering offense as

       18   indicated below:

       19             One 2014 Porsche 911, VIN Number WP0AB2A92ES120563,

       20   Count 45, yes.

       21             So say we all, dated February 5, 2018, foreperson's

       22   signature and printed name, Kelly Padron.

       23             THE COURT:   Is the verdict as read by the courtroom

       24   deputy your verdict?     Anyone says no in the first row, in the

       25   second row?
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        1              Thank you very much.

        2              Remember, no one linked to the case will talk to you

        3   about this case under the pain of contempt.          You are free to

        4   discuss this case with whomever you want except individuals

        5   related to the case.

        6              All right.     Thank you.    Have a good afternoon.     Enjoy

        7   your late lunch.    All right?

        8              THE COURT SECURITY OFFICER:         All rise.

        9      (The jury retired from the courtroom at 3:06 p.m.)

       10              THE COURT:    All right.    Sentencing April 16, 2018.

       11              What happens now with this forfeiture?          You take care

       12   of it separately.       What do I have to do?

       13              MR. GROVE:    Your Honor, I will submit or the Government

       14   will submit a Motion for Preliminary Order of Forfeiture for the

       15   specific property that the jury came back with the finding of a

       16   nexus that is subject to forfeiture.

       17              We're also going to move for a forfeiture money

       18   judgment in an amount that is in total what was received as a

       19   result of the two conspiracy counts for which the defendant was

       20   found guilty.    That will be in excess of $19 million.         We're

       21   then going to move, upon entry of that money judgment, for an

       22   Order of Forfeiture of Substitute Property, that substitute

       23   property being essentially the property that we can identify

       24   which --

       25              THE COURT:     But what do I do with that?      When are you
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        1   going to do that?

        2            MR. GROVE:    Prior to sentencing, Your Honor.

        3            THE COURT:    Everything is prior to sentencing.

        4   Whatever motions you have to do, you've got to do everything

        5   before, so it gets responded and replied, because sentencing is

        6   going to occur on April 16, barring an act of God, some health

        7   issue, or the Court of Appeals.

        8            MR. GROVE:    Right, Your Honor.    And I assume that the

        9   forfeiture money judgment or the motion will be opposed.

       10   Certainly, we'll have a hearing.       I don't know if they'll be --

       11            THE COURT:    And what would happen at that hearing from

       12   the Government's perspective?

       13            MR. GROVE:    Your Honor, we would either point to the

       14   evidence in the record or --

       15            THE COURT:    No, the evidence is already in the record.

       16   So you can submit whatever you want in writing and link it to

       17   the record.   We're not going to have any testimony.

       18            MR. GROVE:    Okay, Your Honor.     Then that's what we'll

       19   do.

       20            THE COURT:    It's whatever it is, it is.

       21            MR. GROVE:    Yes, Your Honor.

       22            THE COURT:    What else is there?

       23            MR. GROVE:    I believe that's it.    Once the forfeiture

       24   money judgment is entered, this would be prior to sentencing,

       25   then we would move for --
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        1              THE COURT:   Have a seat.        Usually the judgment is

        2   entered at the time of sentence.

        3              MR. GROVE:   That's correct, Your Honor.

        4              THE COURT:   Not prior to sentence.

        5              MR. GROVE:   But what Rule 32.2 requires is that we

        6   submit any motion in advance of sentencing --

        7              THE COURT:   Oh, yes.

        8              MR. GROVE:   -- so that matters can be cleared up prior

        9   to sentencing because, literally, the forfeiture has to be

       10   announced as part of the defendant's sentence.

       11              THE COURT:   Of course.

       12              MR. GROVE:   So it has to be resolved.

       13              THE COURT:   I've done plenty of those, obviously, but

       14   you better do it way before.       What is the time limit?

       15              MR. GROVE:   There is no time limit.

       16              THE COURT:   Well, let's put one.

       17              MR. GROVE:   Okay.    I was going to say, Your Honor, I

       18   think the rule just states as soon as practical after the

       19   verdict.

       20              THE COURT:   Like beauty and music and everything else,

       21   we all can disagree as to when that is.           We have already seen

       22   that, which is normal, but everything has to be done before.

       23              MR. GROVE:   Right.

       24              THE COURT:   I don't want to come in on April 16th and

       25   have -- we can have all the disputes you want, but I want to
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        1   know about them way before so we can all be prepared --

        2              MR. GROVE:    Yes, Your Honor.

        3               THE COURT:    -- to discuss both, the property and

        4   freedom.

        5              MR. GROVE:    Right.

        6              THE COURT:    So when do you think is a good deadline for

        7   you to submit -- what do you need to submit now?           You've got to

        8   submit --

        9              MR. GROVE:    A Motion for Preliminary Order of

       10   Forfeiture for --

       11              THE COURT:    Based on what the jurors have found.

       12              MR. GROVE:    That's correct, Your Honor.

       13              THE COURT:     Any objection to that?

       14              MR. MARCUS:    Yes.

       15              THE COURT:    Okay.    I'll overrule that.    And based upon

       16   what the jury has done, a Preliminary Order of Forfeiture will

       17   be granted as to the items that the jury has found.

       18              What's next?

       19              MR. GROVE:    Then, Your Honor, a Motion for Entry of a

       20   Forfeiture Money Judgment in an amount which would be equal in

       21   value to the sum total of the --

       22              THE COURT:    You file that motion and you can do that.

       23   That shouldn't take you too long.           All you've got to do is add,

       24   right?

       25              MR. GROVE:    That's correct, Your Honor.
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        1              THE COURT:   How long does it take you to add?

        2              MR. GROVE:   The only thing that could cause delay is I

        3   would like to say --

        4              THE COURT:   Someone wants to talk to you behind you.

        5   You said it's much more complicated than what Moreno makes

        6   everything, I know.

        7              MR. GROVE:   No, actually -- basically, I would need the

        8   transcript to cite to the court record where the Court could

        9   find the testimony --

       10              THE COURT:   Because your colleagues who have been here

       11   cannot tell you?

       12              MR. GROVE:   They certainly can, Your Honor.     I don't

       13   know if you want me to cite directly to the record or not.        I

       14   can sum up the testimony.

       15              THE COURT:   They did that.

       16              MR. GROVE:   Right.

       17              THE COURT:   And you can sum it up.   See, this is what

       18   I'm trying to get at:     We're not going to continue the

       19   proceeding or hearing for you to order a transcript from the

       20   court reporter unless you're going to order expedite because I

       21   try a lot of cases, unfortunately or fortunately, depending on

       22   your point of view.     There are a lot of appeals going on, which

       23   is fine.    I certainly don't care about that.     I kind of like it,

       24   so the Court of Appeals can decide whether we did things right

       25   or whether the jury did it right or wrong.
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        1              But, see, that's what I'm getting at.     I'm not going to

        2   wait for the transcript.     You tell me, based upon your

        3   discussions with your colleagues, this is what we proved, this

        4   is what was said, this is how it's linked --

        5              MR. GROVE:   Right.

        6              THE COURT:    -- unless there's some more evidence.

        7              MR. GROVE:   No, Your Honor.

        8              THE COURT:   If there's no evidence, it's whatever it

        9   is.   That's what I do and that's how the sentencing is going to

       10   be, too.     Even though relevant conduct is something that I can

       11   always consider as a Federal judge, it's been my practice to

       12   limit myself to whatever you presented at trial, even though I

       13   could go beyond.    So I'm giving you a warning ahead of time,

       14   we're sticking to what was presented here and to what was found

       15   by the jurors.    That seems like the fair thing to do even though

       16   I could go beyond.      All right?

       17              That's why I am warning you ahead of time, so you won't

       18   be calling the court reporter, oh, my God.      She's got to respond

       19   to the Court of Appeals before she responds to you.       The

       20   transcripts are usually prepared after there's a final judgment,

       21   so you can appeal, or the defendant can appeal, or both of you

       22   can appeal if you don't like -- that happens sometimes in

       23   sentencing even in criminal cases, and it doesn't bother me in

       24   the least.    All right?

       25              MR. GROVE:   Absolutely.
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        1              THE COURT:    So we've got it.        So you say this is what

        2   we proved:    We proved that this money from this account was

        3   linked to this and then you do that and then the defense has to

        4   react.    They don't have to prove anything.          They can react if

        5   they want or not react.      It's up to them to decide whatever they

        6   want, but you're the one who has to do that.            All right?

        7              MR. GROVE:    Yes, Your Honor.

        8              THE COURT:    So you're going to give me a deadline.

        9              MR. GROVE:    Can I have two weeks, Your Honor?

       10              THE COURT:    Sure, that's reasonable, because the

       11   sentencing is not till April 16th.            So that means you will file

       12   something by -- how about real Washington's birthday, February

       13   22nd.    When does the defendant wish to respond to what the

       14   Government will file?      I'm looking at three lawyers.        One

       15   speaks.

       16              MR. MARCUS:    How about the 9th, Your Honor.

       17              THE COURT:    The 9th of March, is that what you want?

       18   You didn't mean what you said or you picked the 9th thinking it

       19   was the 9th of February?      No, I just want you to respond.         You

       20   don't have to do anything except to respond to whatever you want

       21   first.

       22              MR. MARCUS:    I was saying one week, Your Honor, to

       23   respond.

       24              THE COURT:    If it's one week from the 22nd, it would be

       25   March 1st.    We'll give you till March 2nd if that's what you
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        1   want.

        2            Now, you're going to file a renewed Motion for Judgment

        3   Notwithstanding the Verdict, right?

        4            MR. MARCUS:    Yes.

        5            THE COURT:    When are you going to file that?

        6            MR. MARCUS:    I think it's the 25th or 26th, whatever

        7   that Monday is, Your Honor, three weeks from today.

        8            THE COURT:    Three weeks from today.     One, two, three,

        9   so we'll give you -- you know what we're going to do in order to

       10   make the deadlines easier, March 2nd at noon to file any

       11   motions; the Renewed Motion for Judgment of Acquittal, Motion

       12   for New Trial, or whatever you want to file.

       13            So that means the Government can reply to the defense

       14   response or regarding forfeiture or to the judgment of acquittal

       15   by what date?

       16            Mr. Larsen, you're going to do that?

       17            MR. LARSEN:    Yes.

       18            THE COURT:    When are you going on vacation again?

       19            MR. LARSEN:    Well, I was going to go this week, but I

       20   was going -- since it was going to be early March, around the

       21   9th, 10th.

       22            THE COURT:    That's when you're going?     You changed it?

       23            MR. LARSEN:    No, no, Your Honor.

       24            THE COURT:    You can do what you want.

       25            MR. LARSEN:    If we were going to retry the case, I was
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        1   not going to go, but since the case isn't being retried, I would

        2   like to go with my plans, but I'll be back by the 10th of March.

        3            THE COURT:      So when do you want to respond to the

        4   expected Motion for New Trial and the expected Renewed Motion

        5   for Judgment of Acquittal Notwithstanding the Guilty Verdict,

        6   the jury's guilty verdict?

        7            MR. LARSEN:      Three weeks, Your Honor.

        8            THE COURT:      Three weeks from then?    Now you guys are

        9   starting to get into -- okay.      March 23rd.

       10            MR. LARSEN:      Very good, Your Honor.

       11               THE COURT:   When does the Government wish to respond on

       12   the forfeiture thing that he's responding to, so you're

       13   replying?

       14            MR. GROVE:      So the reply, Your Honor, seven days after

       15   the response is due, which I believe is March 7th -- or excuse

       16   me -- March 2nd.

       17            THE COURT:      So March 9th, right?

       18            MR. GROVE:      Yes, Your Honor.

       19            THE COURT:      We've got all the dates, no extensions.

       20   Since you've picked your own dates, you live with your own

       21   dates.   Okay?   And that means you do everything in order for the

       22   Presentence Investigation Report so we can proceed on April

       23   16th.

       24            Anything else from the Government?

       25            MR. LARSEN:      Nothing from the Government.
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        1              THE COURT:    From the defense?

        2              MR. MARCUS:    Just the reply for our new trial and

        3   motions, their response we're going to receive on the 23rd of

        4   March.    Could we have the week?       Is that --

        5              THE COURT:    No, that's too long.       You know what they're

        6   going to say, that the evidence is sufficient.           You've all

        7   argued everything.       I have even given you some cases that go

        8   both ways.    You can find some more and then tell me what it is.

        9   The 28th of March.      Okay?

       10              There was something else.

       11              You all are going to get the exhibits back and, under

       12   the Chief Judge's order and pursuant to Eleventh Circuit

       13   dictate, all exhibits have to be filed by you electronically so

       14   that the Court of Appeals can look at it.           All right?   So you're

       15   going to sit there and wait, you're going to get your exhibits

       16   back.    As officers of the Court, you'll file them and that will

       17   be it.    Okay?

       18              Anything from either side?          Government.

       19              MR. LARSEN:    Your Honor, just to make sure I

       20   understand, when do we have to have them filed by, by noon?

       21              THE COURT:     I think it has to be filed -- I don't know

       22   what the order says.

       23              MR. LARSEN:     Your Honor --

       24              THE COURT:     Kind of immediately.

       25              MR. LARSEN:     Well, I did speak with my paralegal last
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        1   week, and she mentioned that given the number of documents that

        2   need to be redacted because there was a lot of PII --

        3            THE COURT:     A lot of what?

        4            MR. LARSEN:    Personal identifiable information that we

        5   need to redact out, so we would ask for --

        6            THE COURT:    Why didn't you do that before?

        7            MR. LARSEN:    Your Honor, it was just brought to my

        8   attention Friday -- Thursday, Friday of last week.

        9            THE COURT:     It's got to be done.

       10            MR. LARSEN:    Yes.

       11            THE COURT:    It's got to be done.          That's what the Court

       12   of Appeals wants, so you've got to do it.            There's a Chief

       13   Judge's order when you have to do it, but that's what you all

       14   have to do in every case.       I think we talked about this, or I

       15   certainly talked about it, saying I don't like it.            I prefer

       16   just getting the exhibits that you think are important on both

       17   sides so that you look at them, but the Court of Appeals wants

       18   everything.   They want everything.            They're the bosses.   They

       19   get everything they want.      So just follow the local rule.

       20            MR. LARSEN:    Okay.

       21            THE COURT:     The new administrative order.          It's a new

       22   administrative order.    You all should know about it because most

       23   of the time, it's exhibits filed by the Government.            Usually the

       24   defense doesn't have exhibits.        Okay?

       25            And the defense, you've got to file your exhibits,
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        1   follow the administrative order, too.      Okay?

        2            Anything else?     All right.

        3            MR. MARCUS:    No, Your Honor.

        4            THE COURT:    See you in April.

        5       (The trial concluded at 3:20 p.m.:)

        6

        7                         C E R T I F I C A T E

        8            I hereby certify that the foregoing is an accurate

        9   transcription of proceedings in the above-entitled matter.

       10

       11   ________________
              09-10-18                 ______________________________________
                DATE                   GILDA PASTOR-HERNANDEZ, RPR, FPR
       12                              Official United States Court Reporter
                                       Wilkie D. Ferguson Jr. U.S. Courthouse
       13                              400 North Miami Avenue, Suite 13-3
                                       Miami, Florida 33128      305.523.5118
       14                              gphofficialreporter@gmail.com

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